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             Exhibit A
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                                       Arbitration Agreement


Spencer Gifts LLC and Spirit Halloween Superstores LLC, their parent corporation, affiliates,
subsidiaries, divisions, successors, assigns and their current and former employees, officers, directors,
and agents (hereafter collectively referred to as “the Company”) seeks to work with our employees to
resolve differences as soon as possible after they arise. Often times, differences can be eliminated
through internal discussions between an employee and his/her supervisor. Other times, it may be
helpful for Human Resources or other Company employees to become involved to help solve a
dispute. To facilitate dispute resolution we have developed a binding arbitration process to settle
disputes that are not resolved through more informal means.

The Company and you, on behalf of you, your heirs, administrators, executors, successors and
assigns (hereinafter collectively referred to as “you” or “your”) agree pursuant to this
Arbitration Agreement (“Agreement”) to arbitrate covered disputes, in lieu of litigating in
court.

               A.      The Mutual Agreement to Arbitrate: Overview

Except for the claims set forth in the paragraph below, you are required to arbitrate any and all
disputes, claims, or controversies (“claim”) against the Company that could be brought in a court
including, but not limited to, all claims arising out of your employment and the cessation of
employment, including any claim that could have been presented to or could have been brought before
any court. This Agreement to arbitrate includes, but is not limited to, claims under the Age
Discrimination in Employment Act, Title VII of the Civil Rights Act of 1964; the Fair Labor
Standards Act; the Family and Medical Leave Act; the Americans with Disabilities Act of 1990;
Section 1981 through 1988 of Title 42 of the United States Code; any state or local anti-discrimination
laws; or any other federal, state, or local law, ordinance or regulation, or based on any public policy,
contract, tort, or common law or any claim for costs, fees, or other expenses or relief, including
attorney’s fees. All claims which could be raised before a court must be raised by the time of the
arbitration and the arbitrator shall apply the law accordingly. This Agreement is governed by the
Federal Arbitration Act, to the maximum extent permitted by applicable law.
Claims not covered by this Agreement are: (i) claims for workers’ compensation benefits; (ii) claims
for unemployment compensation benefits; (iii) claims based upon the Company’s current (successor
or future) stock option plans, employee pension and/or welfare benefit plans if those plans contain
some form of a grievance, arbitration, or other procedure for the resolution of disputes under the plan;
and (iv) claims by law which are not subject to mandatory binding pre-dispute arbitration pursuant to
the Federal Arbitration Act, such as claims under the Dodd-Frank Wall Street Reform Act. Further,
this Agreement does not prohibit the filing of an administrative charge with a federal, state, or local
administrative agency such as the National Labor Relations Board (NLRB) or the Equal Employment
Opportunity Commission (EEOC).
Likewise, the Company agrees to arbitrate any claim against you as per the terms of this Agreement.

               B.       Class/Collective Action Waiver, Jury Waiver and Administrative Charges

The parties agree all claims must be pursued on an individual basis only. By signing this Agreement,
you waive your right to commence, or be a party to, any class or collective claims or to bring jointly
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any claim against the Company with any other person, except as provided in the paragraph below.
Again, the parties agree any claim can be pursued, but only on an individual basis, except the lack of
co-plaintiffs shall not, in and of itself, be a bar to pursuit of a pattern and practice claim.
In addition, nothing herein limits your right and the rights of others collectively to challenge the
enforceability of this Agreement, including the class/collective action waiver. While the Company
will assert that you have agreed to pursue all claims individually in the arbitral forum and may ask a
court to compel arbitration of each individual’s claims, to the extent the filing of such an action is
protected concerted activity under the National Labor Relations Act, such filing will not result in
threats, discipline or discharge.

               C.      Severability and Related Issues

The Arbitrator, and not any federal, state or local court or agency, shall have exclusive authority to
resolve any dispute relating to the interpretation, applicability, enforceability or formation of this
Agreement including, but not limited to any claim that all or any part of this Agreement is void or
voidable, except any determination as to the enforceability of the class/collective action waiver shall
be made solely by a court. If the prohibition against class/collective actions is deemed unlawful, then
such action shall proceed forward in court as a collective or class action. If an arbitrator finds any
other provision of this Agreement unenforceable, a court or arbitrator shall interpret or modify this
Agreement, to the extent necessary, for it to be enforceable, subject to the sentence above. This
Agreement shall be self-amending; meaning if by law or common law a provision is deemed unlawful
or unenforceable that provision and the Agreement automatically, immediately and retroactively shall
be amended, modified, and/or altered to be enforceable. The arbitrator shall have no power under this
Agreement to consolidate claims and/or to hear a collective or class action.

               D.      The Arbitration Process

Any authorized decision or award of the arbitrator shall be final and binding upon the parties. The
arbitrator shall have the power to award any type of legal or equitable relief available in a court of
competent jurisdiction including, but not limited to, attorney’s fees, to the extent such damages are
available under law. Because any arbitral award may be entered as a judgment or order in any court
of competent jurisdiction, any relief or recovery to which you may be entitled upon any claim
(including those arising out of employment, cessation of employment, or any claim of unlawful
discrimination) shall be limited to that awarded by the arbitrator. Again, the arbitrator has no power to
consolidate claims or adjudicate a collective/class action. All orders of the arbitrator (except
evidentiary rulings at the arbitration) shall be in writing and subject to review pursuant to the Federal
Arbitration Act.
Any claim for arbitration will be timely only if brought within the time in which an administrative
charge or complaint would have been filed if the claim is one which could be filed with an
administrative agency. If the arbitration claim raises an issue which could not have been filed with an
administrative agency, then the claim must be filed within the time set by the appropriate statute of
limitation.
The arbitration shall be arbitrated by a single arbitrator in accordance with the National Rules for the
Resolution of Employment Disputes of the National Arbitration and Mediation (“NAM”) except all
arbitrators or members of the appeal panel (which is discussed below) must be members of the bar in
good standing in the state in which the dispute arose. A copy of the NAM Rules for the Resolution
of Employment Disputes is available for you to review at the Human Resource Department. You
may contact NAM to request a copy of these rules at 990 Stewart Avenue, Garden City, NY 11530,
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telephone no. (800) 358-2550, fax no. (516) 794-8518 or obtain them from NAM’s website
(www.namadr.com). If for whatever reason NAM declines to act as the neutral, the parties shall
utilize JAMS (www.jamsadr.com) as the neutral for the arbitration/appeal and shall utilize its
employment arbitration rules.

               E.      Modification to NAM/JAMS Rules

The arbitrator shall apply the Federal Rules of Civil Procedure (except for Rule 23) and the Federal
Rules of Evidence as interpreted in the jurisdiction where the arbitration is held. Also there shall be
one arbitrator for the matter up and through submission and determination of a motion for summary
judgment. If a summary judgment is made, the arbitrator must render a written and detailed opinion
on that motion within sixty (60) calendar days of submission of all supporting and opposition papers.
If the summary judgment is in any part denied the case shall proceed to hearing before another
arbitrator, who did not hear the summary judgment motion. That arbitrator shall be selected from a
new panel to be provided by NAM (or if NAM declines to be the third party administrator, JAMS). If
no summary judgment is filed then no new arbitrator will be selected to hear the matter, as the original
arbitrator will retain jurisdiction.

               F.      Other Provisions of this Agreement

To the extent any of the provisions herein conflict with any standard rules of the arbitration service
being used, the express provisions of this Agreement shall prevail.
Neither the terms nor conditions described in this Agreement are intended to create a contract of
employment for a specific duration of time. Employment with the Company is voluntarily entered
into, and you are free to resign at any time. Similarly, the Company may terminate the employment
relationship at any time for any reason, with or without prior notice.
This Agreement, as well as all terms and conditions of your employment, shall be governed by and
shall be interpreted in accordance with the laws of the state in which you were employed by the
Company.

               G.      The Consideration for the Agreement and Agreement

In addition to the consideration being a mutual Agreement to arbitrate, the Company agrees to
reimburse you for any administrative filing fees the NAM/JAMS may impose on you to initiate
arbitration. As further consideration, the Company agrees to pay all travel, lodging, and meal costs of
the arbitrator. Further, the Company agrees that if it prevails at the arbitration it shall not seek or
pursue costs from you, even if at law it would otherwise be entitled to pursue such costs, however
distinct from costs the Company retains any rights it may have to recover its attorneys’ fees: e.g., for
frivolous claims. Your continued employment and/or your accepting employment with the Company
subsequent to this Agreement’s implementation on March 12, 2014 also shall constitute consideration
and acceptance by you of the terms and conditions set forth in this Agreement. The parties agree that
the consideration set forth in this paragraph is wholly adequate to support this Agreement.

I KNOWINGLY AND FREELY AGREE TO THIS MUTUAL AGREEMENT TO
ARBITRATE CLAIMS, WHICH OTHERWISE COULD HAVE BEEN BROUGHT IN
COURT. I AFFIRM THAT I HAVE HAD SUFFICIENT TIME TO READ AND
UNDERSTAND THE TERMS OF THIS AGREEMENT AND THAT I HAVE BEEN
ADVISED OF MY RIGHT TO SEEK LEGAL COUNSEL REGARDING THE MEANING
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AND EFFECT OF THIS AGREEMENT PRIOR TO SIGNING. BY ISSUANCE OF THIS
AGREEMENT, THE COMPANY AGREES TO BE BOUND TO ITS TERMS WITHOUT ANY
REQUIREMENT TO SIGN THIS AGREEMENT.

I hereby acknowledge that I have Read this entire Arbitration Agreement

Bryan T. Chapel

ASSOCIATE'S SIGNATURE


By affixing my electronic signature here, I agree to be bound by this Arbitration Agreement:

Bryan T. Chapel                                        4/9/2014 10:02:24 AM

ASSOCIATE'S SIGNATURE                                  DATE
